
PER CURIAM.
We affirm the order summarily denying appellant’s three motions for post-conviction relief, all seeking to vacate his convictions based on the alleged involuntariness of his pleas. See Stretcher v. State, 803 So.2d 813 (Fla. 4th DCA 2001). As we did in Stretcher, we certify as a question of great public importance the question certified in Major v. State, 790 So.2d 550, 553 (Fla. 3d DCA 2001):
WHETHER THE TRIAL COURT OR COUNSEL HAVE A DUTY TO ADVISE A DEFENDANT THAT HIS PLEA IN A PENDING CASE MAY HAVE SENTENCE ENHANCING CONSEQUENCES IF THE DEFENDANT COMMITS A NEW CRIME IN THE FUTURE?
WARNER, GROSS and MAY, JJ., concur.
